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                            UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

 MAGGIE SMITH, et al.

 On behalf of themselves and all others
 similarly situated,

 Plaintiffs,
                                                    Civil Action No.: 15-737 (RCL)
   v.

 GOVERNMENT OF THE DISTRICT OF

 COLUMBIA

 Defendant.


                                 PLAINTIFFS’ EXHIBIT LIST



Ps. Ex. # 1 Cassagnol affidavit re Property Clerk

Ps. Ex. # 2 Cassagnol arrest / prosecution documents

Ps. Ex. # 3 Mr. Cassagnol affidavit

Ps. Ex. # 4 Rouse arrest / prosecution documents

Ps. Ex. # 5 Claiborne class counsel affidavit

Ps. Ex. # 6 Delontay Davis PD 81

Ps. Ex. # 7 Scrofano declaration re spreadsheet establishing numerosity

Ps. Ex. # 8 Smith arrest / prosecution documents

Ps. Ex. # 9 Scrofano class counsel affidavit
